    Case 2:18-cv-03847-NJB-DMD           Document 47      Filed 07/22/19     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

MILLICENT CRAWFORD                                               CIVIL ACTION

VERSUS                                                           NO. 18 cv 3847

HYATT CORPORATION                                                NJB - DMD
ET AL.

 MOTION FOR CONTEMPT UNDER RULE 45(g.) FOR FAILURE TO APPEAR PURSUANT
     TO DEPOSITION SUBPOENA,TO COMPEL NON-PARTY’S ATTENDANCE AT
                     DEPOSITION, AND FOR SANCTIONS

       NOW COMES plaintiff, Millicent Crawford, who seeks non-party witness Arieon

Burnet be held in contempt pursuant to Rule 45(g.) of the Federal Rules of Civil Procedure,

for her failure to comply with or object to a subpoena properly issued and served which

ordered her to appear for her deposition on June 12, 2019. In accordance, plaintiff seeks

attorney’s fees and costs related to Arieon Burnett’s failure to appear and further seeks an

order compelling Arieon Burnett to appear for her deposition to be taken at a date and time

agreeable to the parties and the Court, and for fees and costs associated with this motion.

       WHEREFORE, plaintiff prays that after due consideration, her motion be GRANTED,

and the Court issue an order of Contempt directed to Arieon Burnett, ordering her to pay

plaintiff costs and reasonable attorney’s fees related to her failure to appear at the

deposition. Further, plaintiff prays an order issue compelling Arieon Burnett to appear for

her deposition at a date and time agreeable to the parties and the Court and Arieon Burnett

ordered to pay plaintiff’s costs and fees associated with this motion.
    Case 2:18-cv-03847-NJB-DMD           Document 47       Filed 07/22/19    Page 2 of 2




                                                   RESPECTFULLY SUBMITTED:

                                                   _/s/ Nicholas S. Lindner_______
                                                   NICHOLAS S. LINDNER (#31841)
                                                   Branden Villavaso (#34805)
                                                   631 Saint Charles Avenue
                                                   New Orleans, LA 70130
                                                   Te: (504) 579-2601
                                                   Fax: (504) 267-2062




                                          Certificate

I, Nicholas S. Lindner, hereby certify that by using the CM/ECF system to electronically file
the foregoing, all counsel of record will be notified of filing on this date, July 22, 2019.
Further, non-party Arieon Burnett has been served pursuant to Rule 5(b)(C) of the Federal
Rules of Civil Procedure, by mailing a copy of the filing and all attachments to her last known
address on this date, postage affixed and addressed to her at 10501 Curran Blvd., Apt. 20C,
New Orleans, LA 70127. Counsel has also sent the filing by certified mail.

Pursuant to Rule 37(a)(1), counsel herein certifies that he has in good faith attempted to
confer with Arieon Burnett in an effort to obtain the sought deposition without court action.

                                                   _/s/ Nicholas S. Lindner_______
                                                   NICHOLAS S. LINDNER (#31841)
